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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,                    )
                                             )
                       Plaintiff,            )
                                             )
                v.                           )         17-CR-6089L
                                             )
JASON GUCK,                                  )
                                             )
                      Defendant.             )



                             DECLARATION OF PUBLICATION

       In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal Rules

of Criminal Procedure, notice of the forfeiture was posted on an official government internet

site (www.forfeiture.gov) for at least 30 consecutive days, beginning on August 17, 2018

and ending on September 15, 2018. (See, Attachment 1).


      I declare under penalty of perjury that the foregoing is true and correct. Executed on

September 17, 2018 at Rochester, NY.

                                          s/Michelle McCreedy
                                          Michelle McCreedy
                                          Paralegal
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Attachment 1


                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NEW YORK
              COURT CASE NUMBER: 17-CR-6089L; NOTICE OF FORFEITURE

      Notice is hereby given that on July 24, 2018, in the case of U.S. v. JASON GUCK,
Court Case Number 17-CR-6089L, the United States District Court for the Western District
of New York entered an Order condemning and forfeiting the following property to the
United States of America:

       $28,121.11 in funds from Bank Account 110657-0137 in the name of Jason Guck at
       Canandaigua National Bank & Trust, Canandaigua, New York Acct# 110657-0137
       (17-FBI-002351) which was seized from Canandaigua National Bank and Trust on
       March 23, 2017 at 72 South Main Street, located in Canandaigua, NY

       $1,932.99 in funds from Bank Account 110660-0265 in the name of Jason Guck at
       Canandaigua National Bank & Trust, Canandaigua, New York Acct# 1100000002
       (17-FBI-002359) which was seized from Canandaigua National Bank & Trust on
       March 23, 2017 at 72 South Main Street, located in Canandaigua, NY

       $14,049.17 in funds from E*TRADE Securities LLC Account 6887-4704 in the name
       of Jason Guck Acct# 0300910130 (17-FBI-002493) which was seized from E*Trade
       Securities LLC on March 22, 2017 at P O Box 484, located in Jersey City, NY

       All funds on deposit in Charles Schwab Account #4503-6493 in the name of Jason
       Guck (17-FBI-005023)

        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (August 17, 2018) of this
Notice on this official government internet web site, pursuant to Rule 32.2 of the Federal
Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition must be
filed with the Clerk of the Court, 2120 United States Courthouse, 100 State Street,
Rochester, NY 14614, and a copy served upon Assistant United States Attorney Grace
Carducci, United States Attorney's Office, 500 Federal Building, Rochester, NY 14614.
The ancillary petition shall be signed by the petitioner under penalty of perjury and shall
set forth the nature and extent of the petitioner's right, title or interest in the forfeited
property, the time and circumstances of the petitioner's acquisition of the right, title and
interest in the forfeited property and any additional facts supporting the petitioner's claim
and the relief sought, pursuant to 21 U.S.C. § 853(n).

        Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.
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        The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be
made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this
notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
website provides access to a standard petition for remission form that may be mailed and
the link to file a petition for remission online. If you cannot find the desired assets online,
you must file your petition for remission in writing by sending it to Assistant United States
Attorney Grace Carducci, United States Attorney's Office, 500 Federal Building,
Rochester, NY 14614. This website provides answers to frequently asked questions
(FAQs) about filing a petition for remission. You may file both an ancillary petition with the
court and a petition for remission or mitigation.
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                                 Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between August 17, 2018 and September 15, 2018. Below is a summary report that identifies the uptime
for each day within the publication period and reports the results of the web monitoring system’s daily
check that verifies that the advertisement was available each day.

U.S. v. JASON GUCK,

Court Case No:              17-CR-6089L
For Asset ID(s):            See Attached Advertisement Copy

   Consecutive          Date Advertisement         Total Hours Web Site             Verification that
   Calendar Day          Appeared on the           was Available during              Advertisement
       Count                 Web Site                  Calendar Day                existed on Web Site
         1                   08/17/2018                      24.0                          Verified
         2                   08/18/2018                      24.0                          Verified
         3                   08/19/2018                      24.0                          Verified
         4                   08/20/2018                      24.0                          Verified
         5                   08/21/2018                      24.0                          Verified
         6                   08/22/2018                      24.0                          Verified
         7                   08/23/2018                      24.0                          Verified
         8                   08/24/2018                      24.0                          Verified
         9                   08/25/2018                      24.0                          Verified
        10                   08/26/2018                      24.0                          Verified
        11                   08/27/2018                      24.0                          Verified
        12                   08/28/2018                      24.0                          Verified
        13                   08/29/2018                      24.0                          Verified
        14                   08/30/2018                      24.0                          Verified
        15                   08/31/2018                      24.0                          Verified
        16                   09/01/2018                      24.0                          Verified
        17                   09/02/2018                      24.0                          Verified
        18                   09/03/2018                      24.0                          Verified
        19                   09/04/2018                      24.0                          Verified
        20                   09/05/2018                      24.0                          Verified
        21                   09/06/2018                      24.0                          Verified
        22                   09/07/2018                      24.0                          Verified
        23                   09/08/2018                      24.0                          Verified
        24                   09/09/2018                      24.0                          Verified
        25                   09/10/2018                      24.0                          Verified
        26                   09/11/2018                      24.0                          Verified
        27                   09/12/2018                      24.0                          Verified
        28                   09/13/2018                      24.0                          Verified
        29                   09/14/2018                      24.0                          Verified
        30                   09/15/2018                      24.0                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
